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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 10-61376-CIV-SELTZER

  EDWARD SANTANA on behalf of himself and
  all other similarly situated,

          Plaintiff,

  v.

  RCSH OPERATIONS, LLC, d/b/a RUTH’S
  CHRIS STEAKHOUSE, a Florida corporation,

        Defendant.
  _________________________________________/

       DEFENDANT'S MOTION TO DISMISS FOR FRAUD ON THE COURT AND FOR
                            EXPEDITED RELIEF
               AND INCORPORATED MEMORANDUM IN SUPPORT1


          RCSH Operations, LLC (“Ruth’s Chris”), by and through its undersigned counsel, moves

  to dismiss Plaintiff’s Amended Complaint based on his submission of false information to this

  Court on two applications to proceed in forma pauperis. (Doc. 74 and Doc. 78). Given that

  depositions have been scheduled for September 23rd and 27th and a mediation on September 28th,

  Ruth’s Chris seeks expedited consideration of this Motion to Dismiss.

          INTRODUCTION

          Mr. Santana has filed two applications to proceed in forma pauperis under penalty of

  perjury in which he denied receiving any income from “any other source” in the past twelve

  months. (Doc. 74 and 78). In his original application, Mr. Santana also denied having received

  income from any employer in the past twelve months, but “corrected” this after Ruth’s Chris
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           Ruth’s Chris files this motion separately from its previously filed Motion to Dismiss
  based upon Plaintiff’s failure to complete his deposition (Doc. 64), but requests that the Court
  consider each motion without prejudice to the relief requested in the other.



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  pointed out that he had sworn in his discovery responses that he had been employed at and

  derived income from numerous employers during that time period. (Doc. 74, 75, and 78).

          In its Order Denying Corrected Application (Doc. 80), the Court accepted Mr. Santana’s

  representation in his Corrected Application that, in answering question 3 in his original

  application, Mr. Santana “honestly misread the question.” Id. at 2. Ruth’s Chris had also

  questioned whether Plaintiff had been truthful on his applications given his receipt of settlement

  funds in January of 2011 in the amount of $1,250.00. The Court observed that Plaintiff had

  indicated he had not received any income from “any other sources” on both his Original and

  Corrected Application and cautioned Plaintiff that should he file a third application, his case

  must be dismissed if it is determined that “the allegation of poverty is untrue.” Id.2

          On Friday, September 9, 2011, Ruth’s Chris learned that Plaintiff stated to another

  employer he is suing, that in August of 2011, he obtained approximately $13,500.00 from yet

  another employer he has sued. (Case 1:11-cv-22794-UU, Doc. 17-6, attached for the Court’s

  convenience as Exh. A.) Specifically, on August 31, 2011 (the day after filing his original

  application to proceed in forma pauperis), Mr. Santana stated: “I am not going to mention any

  names but I just had a case settle about the same asking amount of $13,500, AND I ONLY

  WORKED THERE FOR A MONTH . . .” Id. (emphasis in original). Given that Mr. Santana

  recently claimed to work at the Coral Gables Ale House for one month in 2011 (Rec. Doc. 75-1),

  and his litigation against that employer was dismissed on August 17, 2011 (Case 1:11-cv-20761-

  AJ, Doc. 41), it seems likely that this is the settlement Mr. Santana referred to in his email. In


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           The Court also reminded Mr. Santana that even were his application to proceed in forma
  pauperis granted, Mr. Santana would still be responsible for discovery costs, including witness
  fees. Ignoring this Court’s reminder, Mr. Santana has apparently served subpoenas without
  tendering the witness fee. See subpoena Mr. Santana issued to Mr. Sullivan, claiming that the
  “witness fee will be provided at time of deposition.” Attached as Exh. B.



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  any event, Mr. Santana failed to advise the Court on either of his two applications to proceed in

  forma pauperis that he received approximately $15,000 from settlements in 2011.3            To the

  contrary, Mr. Santana represented to this Court on two occasions that he had not received any

  income from “any other sources.” (Doc. 74 and 78).

          LAW AND ARGUMENT

          Where a plaintiff falsely claims poverty in order to avoid paying a filing fee, the Court is

  required to dismiss the complaint. See 28 U.S.C. § 1915(e)(2)(A) (“Notwithstanding any filing

  fee, or any portion thereof, that may have been paid, the court shall dismiss the case at any time

  if the court determines that . . . the allegation of poverty is untrue”). As this Court previously

  noted, the court’s only discretion is whether to dismiss the case with or without prejudice. See

  Igbinadolor v. Tivo, Inc., No. 1:08-CV-2580-RWS, 2009 WL 3253946, at *1 (N.D. Ga. Oct. 6,

  2009) (Doc. 80).

          The Court also has the inherent power to dismiss a claim as a sanction for wrongful

  behavior. See, e.g., Chamber v. NASCO, Inc., 501 U.S. 32, 43-51 (1991); Link v. Wabash R.R.

  Co., 370 U.S. 626, 632 (1962) (dismissal of lawsuit is within the court’s discretion). “Bad faith

  [supporting a sanction] exists when the court finds that a fraud has been practiced upon it . . . ”

  See Allapattah Servs., Inc. v. Exxon Corp., 372 F. Supp. 2d 1344, 1373 (citing Chambers, 401

  U.S. at 46); see also Malautea v. Suzuki Motor Co. Ltd., 987 F.2d 1536, 1545-46 (11th Cir.

  1993) (affirming district court’s award of default judgment for violation of discovery orders and

  imposition of fines under court’s inherent power).

          The Eleventh Circuit has noted the serious nature of false testimony, stating that
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          Plaintiff also failed to advise the Court of any income he received from settlements or
  employment in his application to proceed in forma pauperis in his lawsuit against Kendall CR.
  Case 1:11-cv-22794-UU, Doc. 3. That defendant has also filed a Motion to Dismiss Mr.
  Santana’s Complaint based on fraud on the Court. Case 1:11-cv-22794-UU, Doc. 16.



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  “[p]erjury, regardless of the setting, is a serious offense that results in incalculable harm to the

  functioning and integrity of the legal system as well as to private individuals.” United States v.

  Holland, 22 F.3d 1040, 1047 (11th Cir. 1994). This sentiment has been voiced by virtually every

  other court which has considered the question. See, e.g., United States v. Cornielle, 171 F.3d

  748, 752 (2d Cir. 1999) (“Perjury goes to the very heart of the fair administration of justice. No

  legal system can long remain viable if lying under oath is treated as no more than a social

  solecism. Swearing to tell the truth is a solemn oath, the breach of which should have serious

  consequences, especially where the perjurer tells his lie in an attempt to obtain money damages.”

  Metro. Dade County v. Martinsen, 736 So.2d 794, 795 (Fla. 3d DCA 1999) (“It is well-settled

  law that a party who has been guilty of fraud or misconduct in the defense of a civil proceeding

  should not be permitted to continue to employ the very institution it has subverted to achieve her

  ends”) (citations omitted).

          Mr. Santana’s affirmative representations that he had received no money from any other

  source during the past twelve months was patently false. Accordingly, his lawsuit should be

  dismissed.

          CONCLUSION

          In this matter, even if Mr. Santana misread the question about his employment status over

  the past twelve months, it is clear that his repeated representations to the Court that he has not

  obtained any money from “any other sources” over the past twelve months are not truthful.

  Accordingly, his lawsuit should be dismissed, with prejudice, pursuant to 28 U.S.C. § 1915(e)

  and the Court’s inherent powers.

  Dated: September 12, 2011                     Respectfully submitted,

                                                Laurie M. Chess
                                                Laurie M. Chess (Florida Bar No.: 657751)



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                                                E-mail: lchess@joneswalker.com
                                                JONES, WALKER, WAECHTER,
                                                 POITEVENT, CARRERE & DENEGRE, L.L.P.
                                                201 South Biscayne Boulevard
                                                Suite 2600
                                                Miami, FL 33131
                                                Telephone: (305) 679-5728
                                                Facsimile: (305) 679-5710

                                                Attorneys for Defendant

                                         Certificate of Service

          I hereby certify that I electronically filed the foregoing document with the Clerk of the

  Court by using CM/ECF. I also hereby certify that a true and correct copy of the foregoing was

  served via transmission of Notices of Electronic Filing generated by CM/ECF on this 12th day of

  September, on the Service List below.

                                                 /s/ Laurie M. Chess
                                                 Laurie M. Chess

                                           SERVICE LIST



  Edward Santana
  9041 SW 122 Avenue, #203
  Miami, FL 33185
  esantana44@yahoo.com
  Served via regular mail




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